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                       EXHIBIT 21
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                            UNITED STATES MARINE CORPS
                         MARINE FORCE$ SPECIAL OPERATIONS COMMANO
                                        PSC BOX 20116
                                CI\MP LEJEUNE NC 28542 - 0116

                                                                       ttl REPE.Y RtFtR TO:
                                                                      5800
                                                                      DCOS
                                                                      9 Jun 22
 FIRST ENDORSEMENT on Maj Mast's ltr 5800 JKM of 7 Jun 22
 From:   Deputy Chief of Staff, Marine Forces Special Operations Command
 To:     Major Joshua K. Mast 1395425095 / 4402 USMC

 Subj:   SUPPLEMENT TO APPROVED TOUHY REQUEST OF 18 MAY 2022 IN LIEU OF
         PROPOSED REVOCATION

 1 . As per the references , I have reviewed the attached supplement to your
 original request after the Department of Defense (DoD) , Office of General
 Counsel (OGC ) requested I coordinate your Touhy request per the references.
 I have coordinated wi th relevant stakeholders , to include U.S. Navy , Code 14
 Touhy Branch, and the Command of the unit that conducted the mission in
 question, and the MARFORSOC I ntell igence Officer (G-2 ). The information in
 the attached redacted supplement was coordinated with the OGC.

 2. As per reference (b) , I have been delegated the authority to approve this
 request.

 3 . Approving your request furthers Department of the Navy and DoD policy to
 make official information reasonably available for civilian court proceedings
 and avoids the potential stigma of improperly withholding information based
 on the actions of an adverse party toa civil proceeding. See enclosures (1 )
 and (2).

 4. I have reviewed the enclosures and provided them to and consulted with
 the MARFORSOC G-2 and OGC to ensure there is no classified material or
 information that would cause damage to the DoD or U.S. Government from its
 release. I have also consulted with the Command of the unit that conduc ted
 the strike that recovered the child in question. There are no concerns
 regarding the information, as redacted by OGC, hereby approved for release.

 5. After coordination with the OGC, the information redacted, and
 information released to or obtained from non-DoD entities, has been
 determined to be non-DoD information . Per paragraph 2.e of enclosure 5 within
 reference (b), the determining authority " ... shall make no other
 determination regarding the non-DoD information . "

 6. You are direc ted to familiarize yourself with 32 C.F.R. 516 and to remain
 strictly within the limits of the documentary and testimonial evidence
 authorized by this endorsement. You are reminded that reference (b) is a
 lawful order for DoN personnel, and you are to seek c larification with this
 Command if you believe your anticipated testimony may fall outside this
 approved request.




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  Subj:   SUPPLEMENT TO APPROVED TOUHY REQUEST OF 18 MAY 2022 IN LIEU OF
          PROPOSED REVOCATION

  7. Your request to utilize official information and relevant unclassified
  documents, in accordance with U.S. Government policy as articulated in
  SECNAVINST 5820.SA, is approved.

                                     Redacted
  Copy to:                                    I
  File
  SJA
  CO, MRSG




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